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EXHIBIT VV
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Geraldine A. Wyle (SBN 89735)
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Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Temporary Conservatorship of the
Person and the Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

FILED

FEB 0 7 2008

JOHN A. CLARKE, CLERK

oo ook.
BY ANDREA MURDOCK, DEpuTy

CASE NO. BP 108870

[PROPBSED] ORDER GRANTING EX
PARTE APPLICATION FOR ORDER: (1)

(3) TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS

Date: February 7, 2008

Time: 1:30 p.m

Department: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

I

[PROPSSED] ORDER GRANTING EX PARTE APPLICATION RE HOWARD GROSSMAN

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The ex parte application of James P. Spears (“Mr. Spears”) as Temporary Conservator of
the Person and Temporary Co-Conservator of the Estate of Britney Jean Spears for an Order
(1) granting authority to Mr. Spears and Andrew M. Wallet as Temporary Co-Conservators of
the Estate of Britney Jean Spears (collectively, the “Temporary Co-Conservators”) the power to
fire Howard Grossman (“Mr. Grossman”), Britney’s business manager, (2) requiring Mr.
Grossman to immediately turn over all documents and records relating to Britney Jean Spears
(“Britney”) or her assets, and (3) requiring Mr. Grossman to immediately turn over all of
Britney’s assets, came on regularly for hearing before this Court on F ebruary 7, 2008. Mr.
Spears was represented by Jeryll S. Cohen of Luce, F orward, Hamilton & Scripps LLP. Andrew
M. Wallet of Hinojosa & Wallet appeared in his capacity as Temporary Co-Conservator of the
Estate of Britney Jean Spears. Samuel Ingham III appeared on behalf of Britney.

GOOD CAUSE BEING FOUND, it is ORDERED that

(1) The Temporary Co-Conservators are granted the power to fire Mr.

Grossman;

(2) Mr. Grossman, and his partners, agents, attorneys, employees, or

anyone acting in concert with them, shall immediately turn over to the Temporary

Co-Conservators any and all documents and records relating to the assets, debts,

and liabilities of (i) Britney, (ii) any trust as to which Britney is a trustee or

beneficiary, or (iii) any corporation or business entity of which Britney is an

owner, including but not limited to all contracts, information relating to credit

cards, bank statements, checkbooks, passbooks, estate planning documents,

receivables, tax returns, letters from tax reporting authorities, tax reporting

documents, title documents, and any and all powers of attorney; and

(3) Mr. Grossman, and his partners, agents, attorneys, employees, or

anyone acting in concert with them, shall immediately turn over all of Britney’s

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[RROPOSEP] ORDER GRANTING EX PARTE APPLICATION RE HOWARD GROSSMAN

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1 assets, including, but not limited to keys, safe deposit keys, deeds, contracts,
2 money, securities, bonds, and stock certificates.

3 IT IS SO ORDERED.

5 DATED: 224 , 2008

6 The Honorable Reva Goet
5 Commissioner of the Su pig Court

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[ERSESSED] ORDER GRANTING EX PARTE APPLICATION RE HOWARD GROSSMAN

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THE DOCUMENT TO WHICH THIS CERTIFICATE IS
ATTACHED 1S A FULL, TRUE, AND CORRECT COPY

FEB 07 2008
SGav A. CLARKE, SLER¥ EXECUTIVE OFFICER

Enecutwve © ficer/Cierk of the Superior
Cot cldgiicmia, County of Los Angeles
(_, — Deputy

